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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:10CR158
                              )
          v.                  )
                              )
DAVID HERNANDEZ, et al.,      )                       ORDER
                              )
               Defendants.    )
______________________________)


           This matter had been scheduled for trial on May 10,

2011, but inasmuch as there is an interlocutory appeal pending

for some defendants and pretrial motions pending for other

defendants,

           IT IS ORDERED that trial is continued until further

order of the Court.     This will give the parties time to resolve

pretrial issues and pursue plea negotiations or prepare for

trial, and it will accommodate the schedule of the Court.                  The

ends of justice will be served by continuing this case and

outweigh the interests of the public and the defendant in a

speedy trial.   The additional time between May 9, 2011, and a

trial date scheduled after resolution of the appeal and pending

pretrial motions shall be deemed excludable time in any
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computation of time under the requirement of the Speedy Trial

Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 9th day of May, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




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